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     SO. CAL. EQUAL ACCESS GROUP
 1   Jason Yoon (SBN 306137)
     Jason J. Kim (SBN 190246)
 2   101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 3   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 4   scalequalaccess@yahoo.com
 5   Attorneys for Plaintiff
     IN SUN KIL
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     IN SUN KIL,
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR
12         vs.                                 VIOLATION OF:
13                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
14
     ALL WIN CORPORATION D/B/A                 2. CALIFORNIA’S UNRUH CIVIL
15   JIANG NAM SPRING; PHILLIP                 RIGHTS ACT, CAL CIV. CODE §§ 51 -
     CALIVA, TRUSTEE OF PHILLIP                52 et seq.;
16
     CALIVA TRUST; and DOES 1 to 10,           3. CALIFORNIA’S DISABLED
17                                             PERSONS ACT, CAL CIV. CODE §54 et
                  Defendants.                  seq.
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE § 19955, et seq.
20                                             5. NEGLIGENCE
21
22
23
24
25         Plaintiff IN SUN KIL (“Plaintiff”) complains of Defendants ALL WIN
26   CORPORATION D/B/A JIANG NAM SPRING; PHILLIP CALIVA, TRUSTEE OF
27   PHILLIP CALIVA TRUST; and DOES 1 to 10 (“Defendants”) and alleges as follows:
28




                                        COMPLAINT - 1
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 1                                            PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   substantially limited in her ability to walk and requires the use of a wheelchair at all times
 4   when traveling in public.
 5           2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for JIANG NAM SPRING
 7   (“Business”) located at or about 910 E. Main Street, Alhambra, California.
 8           3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10   therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11   to amend this Complaint when the true names and capacities have been ascertained.
12   Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13   named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14   the acts herein alleged.
15           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20           5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                JURISDICTION AND VENUE
25           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.)
28




                                            COMPLAINT - 2
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 1          7.    Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5          8.    Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.    Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, in Alhambra, Los
 8   Angeles County, California, and that all actions complained of herein take place in this
 9   district.
10                                 FACTUAL ALLEGATIONS
11          10.   On or about September 3, 2019, Plaintiff went to the Business. On or about
12   October 20, 2019, Plaintiff went to the Business again.
13          11.   The Business is a restaurant business establishment, open to the public, a
14   place of public accommodation and affects commerce through its operation.
15          12.   While attempting to enter the Business during each visit, Plaintiff personally
16   encountered a number of barriers that interfered with her ability to use and enjoy the
17   goods, services, privileges, and accommodations offered at the Business.
18          13.   To the extent of Plaintiff’s personal knowledge, the barriers at the Business
19   included, but were not limited to, the following:
20                a.     Defendants failed to comply with the federal and state standards for
21                       the parking space designated for persons with disabilities. Defendants
22                       failed to post required signage such as “Van Access,” “Minimum Fine
23                       $250” or “Unauthorized Parking.”
24                b.     Defendants failed to maintain the parking space designated for
25                       persons with disabilities to comply with the federal and state
26                       standards. Defendants failed to provide proper van accessible space
27                       designated for the persons with disabilities.
28




                                            COMPLAINT - 3
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 1                c.     Defendant failed to maintain the parking space designated for persons
 2                       with disabilities to comply with the federal and state standards.
 3                       Defendants failed to paint the ground as required.
 4                d.     Defendants failed to maintain the parking space designated for
 5                       persons with disabilities to comply with the federal and state
 6                       standards. Defendants failed to properly mark the space with the
 7                       International Symbol of Accessibility.
 8                e.     Defendants failed to maintain the parking space designated for
 9                       persons with disabilities to comply with the federal and state
10                       standards. Defendants failed to install a wheel stop.
11         14.    These barriers and conditions denied Plaintiff the full and equal access
12   to the Business and caused her difficulty and frustration. The Business is conveniently
13   located. Plaintiff wishes to return and patronize the Business, however, Plaintiff is
14   deterred from visiting the Business because her knowledge of these violations prevents
15   her from returning until the barriers are removed.
16         15.    Based on the violations, Plaintiff alleges, on information and belief, that
17   there are additional barriers to accessibility at the Business after further site inspection.
18   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
19   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
20         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
21   knew that particular barriers render the Business inaccessible, violate state and federal
22   law, and interfere with access for the physically disabled.
23         17.    At all relevant times, Defendants had and still have control and dominion
24   over the conditions at this location and had and still have the financial resources to
25   remove these barriers without much difficulty or expenses to make the Business
26   accessible to the physically disabled in compliance with ADDAG and Title 24
27   regulations. Defendants have not removed such barriers and have not modified the
28   Business to conform to accessibility regulations.



                                            COMPLAINT - 4
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 1                                   FIRST CAUSE OF ACTION
 2       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3         18.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8   public accommodation by any person who owns, leases, or leases to, or operates a place
 9   of public accommodation. See 42 U.S.C. § 12182(a).
10         20.    Discrimination, inter alia, includes:
11                a.    A failure to make reasonable modification in policies, practices, or
12                      procedures, when such modifications are necessary to afford such
13                      goods, services, facilities, privileges, advantages, or accommodations
14                      to individuals with disabilities, unless the entity can demonstrate that
15                      making such modifications would fundamentally alter the nature of
16                      such goods, services, facilities, privileges, advantages, or
17                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                b.    A failure to take such steps as may be necessary to ensure that no
19                      individual with a disability is excluded, denied services, segregated or
20                      otherwise treated differently than other individuals because of the
21                      absence of auxiliary aids and services, unless the entity can
22                      demonstrate that taking such steps would fundamentally alter the
23                      nature of the good, service, facility, privilege, advantage, or
24                      accommodation being offered or would result in an undue burden. 42
25                      U.S.C. § 12182(b)(2)(A)(iii).
26                c.    A failure to remove architectural barriers, and communication barriers
27                      that are structural in nature, in existing facilities, and transportation
28                      barriers in existing vehicles and rail passenger cars used by an



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 1                       establishment for transporting individuals (not including barriers that
 2                       can only be removed through the retrofitting of vehicles or rail
 3                       passenger cars by the installation of a hydraulic or other lift), where
 4                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                d.     A failure to make alterations in such a manner that, to the maximum
 6                       extent feasible, the altered portions of the facility are readily
 7                       accessible to and usable by individuals with disabilities, including
 8                       individuals who use wheelchairs or to ensure that, to the maximum
 9                       extent feasible, the path of travel to the altered area and the
10                       bathrooms, telephones, and drinking fountains serving the altered
11                       area, are readily accessible to and usable by individuals with
12                       disabilities where such alterations to the path or travel or the
13                       bathrooms, telephones, and drinking fountains serving the altered
14                       area are not disproportionate to the overall alterations in terms of cost
15                       and scope. 42 U.S.C. § 12183(a)(2).
16         21.    Where parking spaces are provided, accessible parking spaces shall be
17   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21   be van parking space. 2010 ADA Standards § 208.2.4.
22         22.    Under the ADA, the method and color of marking are to be addressed by
23   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24   Building Code (“CBC”), the parking space identification signs shall include the
25   International Symbol of Accessibility. Parking identification signs shall be reflectorized
26   with a minimum area of 70 square inches. Additional language or an additional sign
27   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28   parking space identification sign shall be permanently posted immediately adjacent and



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 1   visible from each parking space, shall be located with its centerline a maximum of 12
 2   inches from the centerline of the parking space and may be posted on a wall at the
 3   interior end of the parking space. See CBC § 11B-502.6, et seq.
 4         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5   each entrance to an off-street parking facility or immediately adjacent to on-site
 6   accessible parking and visible from each parking space. The additional sign shall not be
 7   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9   designated accessible spaces not displaying distinguishing placards or special license
10   plates issued for persons with disabilities will be towed always at the owner’s expense…”
11   See CBC § 11B-502.8, et seq.
12         24.    Here, Defendants failed to provide signs stating “Minimum fine $250” or
13   “Van Accessible.” Moreover, Defendants failed to provide the additional sign with the
14   specific languages stating “Unauthorized vehicles parked in designated accessible spaces
15   not displaying distinguishing placards or special license plates issued for persons with
16   disabilities will be towed always at the owner’s expense…”
17         25.    For the parking spaces, access aisles shall be marked with a blue painted
18   borderline around their perimeter. The area within the blue borderlines shall be marked
19   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
20   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
21   be painted on the surface within each access aisle in white letters a minimum of 12 inches
22   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
23   11B-502.3.3.
24         25.      Here, Defendants failed to properly maintain the access aisles as there was
25   no “NO PARKING” painted on the parking surface. Moreover, Defendants failed to
26   provide the access aisle with the minimum width of 96 inches.
27         26.    The surface of each accessible car and van space shall have surface
28   identification complying with either of the following options: The outline of a profile



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 1   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
 2   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 3   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 4   length of the parking space and its lower side or corner aligned with the end of the
 5   parking space length or by outlining or painting the parking space in blue and outlining
 6   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 7   occupant. See CBC § 11B-502.6.4, et seq.
 8         27.      Here, Defendants failed to paint the International Symbol of Accessibility on
 9   the surface as required.
10         28.      When arranging disabled parking stalls, loading zone access to the
11   accessible route should not force one who is disabled to travel behind any other vehicle
12   other than their own. Wheel stops are required when the front end of the vehicle would
13   encroach into the accessible route and reduce the path under 48”. The entrance warning
14   tow-away signs must provide specific wording and include a reclaim name or phone
15   number installed on the sign. See CBC § 11B-502.7.2. At least one accessible route shall
16   connect accessible building, facilities, elements, and spaces that are on the same site.
17   1991 ADA Standards § 4.3.2.
18         29.      Here, Defendants failed to install wheel stop and the front end of the vehicle
19   would encroach into the accessible route.
20         30.      A public accommodation shall maintain in operable working condition those
21   features of facilities and equipment that are required to be readily accessible to and usable
22   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
23         31.      By failing to maintain the facility to be readily accessible and usable by
24   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
25   regulations.
26         32.      The Business has denied and continues to deny full and equal access to
27   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
28   discriminated against due to the lack of accessible facilities, and therefore, seeks



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 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         33.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         34.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         35.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         36.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         37.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




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 1          38.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3    damages as specified in California Civil Code §55.56(a)-(c).
 4                                  THIRD CAUSE OF ACTION
 5                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6          39.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          40.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9    entitled to full and equal access, as other members of the general public, to
10    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15    places of public accommodations, amusement, or resort, and other places in which the
16    general public is invited, subject only to the conditions and limitations established by
17    law, or state or federal regulation, and applicable alike to all persons.
18          41.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19    corporation who denies or interferes with admittance to or enjoyment of public facilities
20    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22    the actual damages, and any amount as may be determined by a jury, or a court sitting
23    without a jury, up to a maximum of three times the amount of actual damages but in no
24    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25    determined by the court in addition thereto, suffered by any person denied the rights
26    provided in Section 54, 54.1, and 54.2.
27          42.    California Civil Code § 54(d) specifies, “a violation of the right of an
28    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1    constitute a violation of this section, and nothing in this section shall be construed to limit
 2    the access of any person in violation of that act.
 3          43.    The actions and omissions of Defendants alleged herein constitute a denial
 4    of full and equal accommodation, advantages, and facilities by physically disabled
 5    persons within the meaning of California Civil Code § 54. Defendants have
 6    discriminated against Plaintiff in violation of California Civil Code § 54.
 7          44.    The violations of the California Disabled Persons Act caused Plaintiff to
 8    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9    statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                 FOURTH CAUSE OF ACTION
11                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12          45.    Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14          46.    Plaintiff and other similar physically disabled persons who require the use of
15    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16    such facility is in compliance with the provisions of California Health & Safety Code §
17    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18    provisions of California Health & Safety Code § 19955 et seq.
19          47.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20    that public accommodations or facilities constructed in this state with private funds
21    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22    Title 1 of the Government Code. The code relating to such public accommodations also
23    require that “when sanitary facilities are made available for the public, clients, or
24    employees in these stations, centers, or buildings, they shall be made available for
25    persons with disabilities.
26          48.    Title II of the ADA holds as a “general rule” that no individual shall be
27    discriminated against on the basis of disability in the full and equal enjoyment of goods
28    (or use), services, facilities, privileges, and accommodations offered by any person who



                                            COMPLAINT - 11
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 1    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2    Further, each and every violation of the ADA also constitutes a separate and distinct
 3    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4    award of damages and injunctive relief pursuant to California law, including but not
 5    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                    FIFTH CAUSE OF ACTION
 7                                          NEGLIGENCE
 8           49.    Plaintiff incorporates by reference each of the allegations in all prior
 9    paragraphs in this complaint.
10           50.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12    to the Plaintiff.
13           51.    Defendants breached their duty of care by violating the provisions of ADA,
14    Unruh Civil Rights Act and California Disabled Persons Act.
15           52.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16    has suffered damages.
17
18                                      PRAYER FOR RELIEF
19           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
20    Defendants as follows:
21           1.     For preliminary and permanent injunction directing Defendants to comply
22    with the Americans with Disability Act and the Unruh Civil Rights Act;
23           2.     Award of all appropriate damages, including but not limited to statutory
24    damages, general damages and treble damages in amounts, according to proof;
25           3.     Award of all reasonable restitution for Defendants’ unfair competition
26    practices;
27           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
28    action;



                                             COMPLAINT - 12
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 1          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 2          6.     Such other and further relief as the Court deems just and proper.
 3
 4                               DEMAND FOR TRIAL BY JURY
 5          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 6    demands a trial by jury on all issues so triable.
 7
 8    Dated: December 7, 2019                 SO. CAL. EQUAL ACCESS GROUP
 9
10
11                                            By:   _/s/ Jason Yoon_______________
                                                    Jason Yoon, Esq.
12                                            Attorneys for Plaintiff
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                                            COMPLAINT - 13
